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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

THE UNITED STATES OF AMERICA,

             Plaintiff,

      vs.                                                          No. CR 05-1849 JH

DANA JARVIS, et al.,

             Defendants.

                   DEFENDANTS’ JOINT MOTION TO
                       SEVER COUNTS I AND III
                    ON GROUNDS OF MISJOINDER
            UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 8
                  AND PREJUDICIAL JOINDER UNDER
              FEDERAL RULE OF CRIMINAL PROCEDURE 14

      The Defendants jointly hereby respectfully request the Court to sever Count

I from Count III.


                                  INTRODUCTION

      Counts I and III were improperly joined in the indictment and should be tried

before separate juries to secure the Defendants’ right to trial by an impartial jury and

the right to due process.     There is strong empirical evidence of a substantial

prejudicial effect of joinder. On the countervailing side of the balancing test, the

supposed efficiencies of jointly trying the defendants on separate counts have been

overstated. In fact, trying Count I separately from Count III has the potential to be
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more efficient. And even supposing that there were an efficiency and convenience

advantage to joint trials, the right to a fair trial by an impartial jury and the right to

due process should take precedence in our system of criminal justice.

1.    Counts I and III.

      A.     The allegations in the superceding indictment.

      The government alleges, in Count I, that from approximately 1990 to 2005,

twenty-two defendants violated 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 21 U.S.C.

§ 846, by conspiring to distribute 1000 kilograms and more of marijuana. See

Indictment at 1.

      Less than half of the Count I defendants are indicted in Count III. The

government alleges, in Count III, that ten of the defendants indicted in Count I

violated 18 U.S.C. §§ 1956(a)(1)(A)(i), -(a)(1)(B)(i), and -(h), by conspiring to launder

monetary instruments. See Indictment at 4.

      B.     The proof required to sustain Counts I and III.

      To prove beyond a reasonable doubt the essential elements of the allegations

in Count I regarding 21 U.S.C. § 841(a)(1) and (b)(1)(A), the government must prove

the following:




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              1.     The defendant knowingly or intentionally distributed
                     marijuana; and

              2.     The amount of the controlled substance distributed by the
                     defendant was at least 1000 kilograms.

Tenth Circuit Pattern Jury Instructions 2.85.1 (Distribution of a Controlled

Substance—21 U.S.C. § 841(a)(1)). See also United States v. Santistevan, 39 F.3d 250,

255 (10 th Cir. 1994).

       Section 846 of Title 21 of the United States Code provides as follows: “Any

person who attempts or conspires to commit any offense defined in this subchapter

shall be subject to the same penalties as those prescribed for the offense, the

commission of which was the object of the attempt or conspiracy.” 21 U.S.C. § 846.

       To prove a violation of 21 U.S.C. § 846, the government must prove the

following five essential elements beyond a reasonable doubt:

       1.     Two or more persons agreed to violate the federal drug laws;

       2.     The defendant knew the essential objective of the conspiracy;

       3.     The defendant knowingly and voluntarily involved himself in
              the conspiracy;

       4.     There was interdependence among the members of the
              conspiracy; that is, the members, in some way or manner,
              intended to act together for their shared mutual benefit within
              the scope of the conspiracy charged; and


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      5.     The overall scope of the conspiracy involved 1000 kilograms and
             more of a substance containing a detectable amount of
             marijuana.

Tenth      Circuit     Pattern      Jury    Instructions       2.87    (Controlled

Substances—Conspiracy—21 U.S.C. § 846).

      There are four essential elements the government must prove to obtain a

conviction under 18 U.S.C. § 1956(a)(1)(A)(i):

             1.      The defendant knowingly conducted             a “financial
                     transaction” as defined herein;

             2.      The defendant knew that the property involved in the
                     financial transaction represented the proceeds of some
                     form of unlawful activity;

             3.      The financial transaction involved the proceeds of
                     specified unlawful activity; and

             4.      The defendant conducted the financial transaction with
                     the intent to promote the carrying on of specified unlawful
                     activity.

See Tenth Circuit Pattern Jury Instructions 2.73 (Money Laundering—Using illegal

proceeds to promote illegal activity—18 U.S.C. § 1956(a)(1)(A)(i)).

      The government must prove the following four essential elements to obtain

a conviction under 18 U.S.C. § 1956(a)(1)(B)(i):




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             1.    The defendant know ingly conducted a “financial
                   transaction,” as defined below;

             2.    The financial transaction involved the proceeds of [specify
                   unlawful activity from 18 U.S.C. § 1956(c)(7)];

             3.    The defendant knew that the property involved in the
                   financial transaction represented the proceeds of some
                   form of unlawful activity, namely [specify form of
                   unlawful activity charged in the indictment], which
                   unlawful activity constitutes a felony under federal law;
                   and

             4.    The defendant conducted the financial transaction
                   knowing that it was designed in whole or in part to
                   conceal or disguise the nature, location, source,
                   ownership, or control of the proceeds of specified
                   unlawful activity.

      To prove the allegations in Count III with respect to Section 1956(h), the

government must prove the elements of conspiracy, although it is not required to

prove an overt act in furtherance of the conspiracy. See Whitfield v. United States,

543 U.S. 209, 219 (2005).

2.    Misjoinder under Rule 8.

      A.     Rule 8(a).

      Federal Rule of Criminal Procedure 8(a) provides that “[t]he indictment or

information may charge a defendant in separate counts with 2 or more offenses if




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the offenses charged--whether felonies or misdemeanors or both--are of the same or

similar character, or are based on the same act or transaction, or are connected with

or constitute parts of a common scheme or plan.” Fed. R. Crim. P. 8(a).

      The allegations of marijuana distribution and money laundering are separate

and distinct actions, requiring substantially different elements of proof.       For

instance, the marijuana distribution conspiracy requires proof that the 22 defendants

named in Count I conspired to distribute more than 1000 kilograms of marijuana.

To prove the money laundering conspiracy, the government must show that 10 of

these defendants conspired to conduct financial transactions, knowing that the

property involved in the transactions represented proceeds of unlawful activity, and

with the intent to promote the carrying on of specified unlawful activity. See Tenth

Circuit Pattern Jury Instructions 2.73 (Money Laundering—Using illegal proceeds

to promote illegal activity—18 U.S.C. § 1956(a)(1)(A)(i)). In addition, to prove the

allegations in Count III, the government must prove that the 10 defendants named

in that count conspired to conduct financial transactions involving proceeds of

specified unlawful activity, knowing that the property involved in the transactions

represented proceeds of a federal felony, and knowing that the transactions were

“designed in whole or in part to conceal or disguise the nature, location, source,


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ownership, or control of the proceeds of specified unlawful activity.” See Tenth

Circuit Pattern Jury Instructions 2.73.1 (Money Laundering—Concealing illegal

proceeds—18 U.S.C. § 1956(a)(1)(B)(i)).

      The proof of the allegations in Count I and the proof of the allegations in

Count III are wholly distinct.     The government might argue that the money

laundering conspiracy and the marijuana distribution conspiracy are inextricably

intertwined. It might contend that the unlawful activity in Count III is the marijuana

distribution conspiracy, and the proceeds of the distribution conspiracy were used

and concealed, as alleged in Count III.

      But in this case, the indictment does not allege an isolated, discrete transaction

or set of transactions in a tightly circumscribed timeframe. Indeed, this indictment

is breathtaking in its vagueness. It spans 15 years, involving 22 defendants and

others who have not been indicted, and, according to the indictment, involving more

than $158,400,000.00. The indictment alleges a massive conspiracy.

      Furthermore, if any of the 10 defendants indicted in Count III (all of whom are

also indicted in Count I) wish to testify on Count III, but not on Count I, the joinder

of counts for trial prejudices these defendants. For this reason, severance should be

granted. See Cross v. United States, 335 F.2d 987, 989 (D.C. Cir. 1964) (“Prejudice


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may develop when an accused wishes to testify on one but not the other of two

joined offenses which are clearly distinct in time, place and evidence.”). Given the

span of time alleged in the indictment, and the large number of defendants, it is

likely that times and places for conduct alleged in Count I with respect to a given

defendant will not overlap with Count III for the same defendant.

      B.     Rule 8(b).

      Federal Rule of Criminal Procedure 8(b) provides that “[t]he indictment or

information may charge 2 or more defendants if they are alleged to have

participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses. The defendants may be charged in

one or more counts together or separately. All defendants need not be charged in

each count.” Fed. R. Crim. P. 8(b).

      Where multiple defendants have been charged in a multi-count indictment,

the courts are split on whether to apply Rule 8(a) or Rule 8(b). The majority view

is that Rule 8(a) applies only when a single defendant is named in an indictment.

See, e.g., King v. United States, 355 F.2d 700, 703-05 (1 st Cir. 1966); United States v.

Papadakis, 510 F.2d 287, 299-300 (2 nd Cir. 1975) (“8(a) relates to joinder of offenses,

while 8(b) relates to joinder of defendants. However, when a defendant in a


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multiple-defendant case challenges joinder of offenses, his motion is made under

8(b) rather than 8(a).”); United States v. Turoff, 853 F.2d 1037, 1043 (2 nd Cir. 1988)

(“[O]ur cases indicate that when a defendant in a multiple-defendant case challenges

joinder of offenses, his motion is made under 8(b) rather than 8(a).” (Internal

quotation marks omitted).); United States v. Serubo, 460 F. Supp. 689, 694 (E.D. Pa.

1978) (“This is an indictment involving various defendants and therefore, both the

joinder of offenses and defendants must be tested under Rule 8(b).”); United States

v. Slawik, 408 F. Supp. 190, 212 (D. Del.), aff’d without op., 564 F.2d 90 (3 rd Cir. 1975)

(“Rule 8(b) is the mechanism for assessing misjoinder when a defendant named in

one count attacks the joinder of other counts in the same indictment that do not

contain charges against him or when one of the defendants in a multiple-defendant

count attacks joinder of one or more other such multiple-defendant counts.”); United

States v. Mandel, 415 F. Supp. 1033, 1045 (D. Md. 1976) (“Rule 8(a) deals with

joinder of offenses committed by a single defendant and has no application when

two or more defendants are involved.”) (citing 1 C. Wright, Federal Practice and

Procedure s 144, at 318 (1969)).

        The Tenth Circuit has held that Rule 8(b) applies where more than one

defendant is joined in the same indictment, even where the question is whether


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multiple counts were improperly joined. See United States v. Eagleston, 471 F.2d

11, 14 (10 th Cir. 1969) (“Rule 8(a) . . . does not apply in cases where more than one

defendant is joined in the same indictment. Such joinder is governed by Rule 8(b).”)

(citing Williamson v. United States, 310 F.2d 192 n. 16 (9 th Cir. 1962); United States

v. Welsh, 15 F.R.D. 189 (D.D.C. 1953); 1 Wright, Federal Practice and Procedure 144,

at 318 (1 st ed. 1969)). But see United States v. Biaggi, 705 F. Supp. 852, 854-55 & n.3

(S.D.N.Y. 1988) (criticizing the “primacy thesis”—described as the view that Rule

8(b) takes primacy over Rule 8(a) when there are multiple defendants).

      Under Rule 8(b), joinder is improper in this case because of the disparity

between the identity of the defendants in the counts. There are twelve Count I

defendants who are not implicated in Count III.            For at least these twelve

defendants, there is no logical connection between the offenses alleged in these two

counts. And for defendants indicted in both counts, there may still be no logical

connection between the two offenses due to the exceedingly long time span and

large number of defendants indicted.

      With 22 individuals alleged to have conspired over a period of fifteen years,

as alleged in Count I, and 10 individuals over a period of fifteen years, as alleged in

Count III, prejudice may result if the evidence shows that there was not a single


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conspiracy, but multiple conspiracies. Cf. Kotteakos v. United States, 328 U.S. 750,

775 (1946) (recognizing that misjoinder was implicated, but deciding the case based

on variance).   Consider the vastness of the allegation in Count I—more than

$158,400,000.00 involved; at least 22 defendants involved in a conspiracy to

distribute marijuana across several states; and all of this spanning a period of fifteen

years. The discovery to date numbers in the neighborhood of 60,000 pages, and

counting. Even considering Count I alone, there is the potential for misjoinder of

defendants. For instance, Defendants A, B and C might have been involved in a

conspiracy for years 1-3, involving quantity x of marijuana; and Defendants C, D,

and E might have been involved in a conspiracy for years 4-6, involving quantity 10x

of marijuana. It would be prejudicial for Defendants A and B to be joined for trial

with an entirely separate conspiracy, spanning different locations and/or different

periods of time, involving defendants with whom they did not conspire, and

pertaining to amounts of contraband far greater than the amounts with which they

were involved. See Commonwealth v. Gaynor, 820 N.E.2d 233, 247 (Mass. 2005)

(recognizing the “closeness of space and time” are relevant factors in determining

whether offenses are related for purposes of joinder).           In our hypothetical,

Defendants A, B and C should be tried for the conspiracy in which they were alleged


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to have been involved, and C should be tried for the various conspiracies in which

he or she was allegedly involved. Although joinder is proper in the right case, it

runs the risk, particularly in this case, of violating the fundamental tenet of our

criminal justice system that “guilt is personal.” Korematsu v. United States, 323 U.S.

214, 243 (1944) (Jackson, J., dissenting) (“[I]f any fundamental assumption underlies

our system, it is that guilt is personal . . . .”); see United States v. Lane, 474 U.S. 438,

449 (1986) (“[A]n error involving misjoinder ‘affects substantial rights’ and requires

reversal only if the misjoinder results in actual prejudice because it had substantial

and injurious effect or influence in determining the jury’s verdict.”) (Internal

quotation marks omitted).

3.     Trying Count I and Count III to the same fact-finder is prejudicial under
       Federal Rule of Criminal Procedure 14.

       The Court should order separate trials of Counts I and Count III, as provided

for under Rule 14, to secure the fundamental rights protected by the Sixth

Amendment (right to trial by impartial jury) and the Fifth Amendment (due

process).   Trying these disparate counts jointly presents unnecessary risk of

prejudice to the defendants.




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       Rule 14 provides that “the court may order separate trials of counts” if joinder

“appears to prejudice a defendant.” Fed. R. Crim. P. 14. See also United States v.

Muniz, 1 F.3d 1018, 1022 (10 th Cir. 1993) (“[T]he district court may sever counts

which are properly joined if it appears the defendant is prejudiced by their

joinder.”). As discussed above in reference to Rule 8, there is a significant potential

in this case for prejudice to the defendants as a result of the joinder of Counts I and

III in the ame trial.

       A.     There is empirical evidence of substantial prejudice as a result of
              joinder.

       A recent empirical study of federal criminal trials demonstrates that there is

a quantifiable, significant prejudicial effect as a result of joinder. See Andrew D.

Leipold & Hossein A. Abbassi, The Impact of Joinder and Severance on Federal

Criminal Cases: An Empirical Study, 59 Vand. L. Rev. 349, 355 (March 2006)

(hereinafter Joinder and Severance). In this study, an economist and a law professor

conducted a study of “over 375,00 formally charged federal defendants whose cases

terminated during fiscal years 1999 through 2003.” Id. at 363. The data analyzed by

the authors was drawn from “records compiled by the Federal Judicial Center, the

research and education agency of the federal judicial system.” Id. n.58 (citing




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http://www.fjc.gov/, and http://www.icpsr.umich.edu, both of which the authors last

visited March 24, 2006). The authors controlled for a variety of factors, such as (1)

whether there was a jury trial versus a bench trial, see Joinder and Severance at 373-

77, (2) type of crime, see id. at 377-80, (3) whether defense counsel was a public

defender, retained, or a panel attorney, see id. at 380-82, and (4) in which federal

circuit the trial was located, see id. at 382-83. When various factors were controlled

for, the data showed that for federal criminal trials from fiscal years 1999 to 2003

involving multiple defendants, the conviction rate was 74% when a defendant faced

one count, and 83% when a defendant faced multiple counts.” Id. at 383. The

scholars also concluded that “[t]he joinder effect is quite robust. It is significant and

reliable in each instance when we analyze other variables, including variables such

as the identity of the factfinder, that are strongly correlated to conviction rates.” Id.

at 384.

      The significance of this data for this trial is that the Court should weigh very

carefully the balance of interests at stake as it undertakes the analysis under Rule 14.

As the authors noted, “[i]ncreasing a defendant’s chance of conviction by more than

10% is a high price to pay to secure the societal benefits of joined trials.” Id. at 385.




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      B.     The efficiency of joint trials is overstated.

      On the side of the equation favoring joint trials, scholars have noted that the

supposed benefits of joinder have been overstated. There “is reason to think that the

correlation between joint trials and efficiency is less than is sometimes believed.”

Id. at 391. Legal scholars have concluded that “the government’s interest [in joinder

is] smaller than conventional wisdom suggests.” Id. at 399. “[C]ourts currently

miscalculate the defense and governmental interests when deciding whether to

sever.” Id. at 401. Neither the fear of an increase in the number of trials, nor the fear

that the defendants are trying to gain some unfair advantage from separate trials,

are supported by sound analysis.

      It is a fallacy that a greater use of severance results in a proportional increase

in the number of trials. See Robert O. Dawson, Joint Trials of Defendants in

Criminal Cases: An Analysis of Efficiencies and Prejudices, 77 M ICH. L. R EV. 1379,

1381 (1979) (“[C]ourts have greatly exaggerated the supposed efficiencies of joint

trials while grossly underestimating the impediments joint trials pose to fair and

accurate determinations of individual guilt or innocence.”), quoted in Joinder and

Severance, supra, at 361 n. 56. Dawson explains how severance actually may lead to

the disposition of a second case through settlement rather than through trial. See


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Dawson, cited in Joinder and Severance, at 392 n. 120.             “A defendant who

successfully moves for three separate trials may not stand trial three times; if the first

trial ends in a conviction (as most do), the defendant may quickly plead guilty to the

remaining counts. Conversely, if the first trial ends in an acquittal, the prosecutor

might decide to cut her losses and either offer an attractive deal to the remaining

defendants or even nol pros the remaining charges.” Id. at 392.

      The Sentencing Guidelines provide an incentive for a defendant to plead

guilty to the remaining counts following a conviction on the first count if she

believes that she may receive a reduction in the offense level for acceptance of

responsibility. U.S. Sentencing Guidelines § 3E1.1 (providing for a two or three level

reduction in the offense level where a defendant “clearly demonstrates acceptance

of responsibility for his offense”).

      In this case, there are considerable inefficiencies to trying everyone, and every

count jointly. Joint trial will necessitate the presence of all 22 defendants, and at

least as many defense lawyers, at every stage of the trial. Joint trial will require that

the least culpable defendant and his or her lawyer be present when extraneous

evidence is presented regarding other counts and/or other defendants. It could

mean 22 opening arguments, 22 closing arguments, cumbersome bench conferences,


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and so forth.

      The proceedings and preparation to date in this case demonstrate the

inefficiencies of indicting this many defendants in a single indictment.         Each

defendant and each lawyer has had to sift through mountains of data, most of which

does not pertain to that defendant, in an attempt identify the sliver of evidence that

pertains to that defendant. This case is a good example of the inefficiency of joinder.

At trial, these inefficiencies will only be compounded.

      As the Court considers how best to try these 22 defendants on these

allegations, it should take into account the significant prejudicial effect of joinder

that has been demonstrated empirically.

      C.     Protecting fundamental individual rights trumps expediency.

      One might argue that “defendants are not entitled to severance merely

because they may have a better chance of acquittal in separate trials.” Zafiro v.

United States, 506 U.S. 534, 540 (1993). This oft-repeated contention is based on a

mis-understanding of the issue before the Court. The question is not “Qui bono?”

That is, the issue is not whether the defendant or the government benefits from

trying Counts I and III jointly versus trying them separately.




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       The more fundamental and important legal question is whether justice is

better served by trying these counts and defendants jointly or separately. On this

question, the Court cannot ignore the empirical evidence: the risk of prejudice to the

defendants is substantial when multiple counts are joined in multiple defendant

trials. Infringement on the right to due process and trial by an impartial jury, as

protected by the Fifth and Sixth Amendments, should not be sacrificed for the sake

of expediency. See 1A Charles Alan Wright, F EDERAL P RACTICE & P ROCEDURE:

C RIMINAL 3 (1999) § 141, at 6, quoted in Joinder and Severance, supra, at 361 (“[It]

seems strange that one presumably innocent may be made to undergo something

less than a fair trial, or that he may be prejudiced in his defense if the prejudice is not

‘substantial,’ merely to serve the convenience of the prosecution and the efficiency

of the judicial system.”); Joinder and Severance, supra, at 390 (“[T]o say a defendant

is not entitled to a separate trial just because his chances of acquittal are better is to

say that a defendant should not be granted a severance merely to avoid a significant

(- 10%) risk that his conviction will be influenced by improper factors.”.). See also

United States v. Fountz, 540 F.2d 733, 738 (4 th Cir. 1976) (“[T]he only real

convenience served by permitting joint trial of unrelated offenses against the wishes

of the defendant may be the convenience of the prosecution in securing a


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conviction.”).

      The Defendants in this case urge the Court to examine the empirical data,

consider the competing values, and exercise its discretion to sever Count I from

Count III at trial. Rule 14 expressly provides this Court with the authority to do so.

Congress has given this Court the authority to take into account the substantial

prejudicial effect of joinder on the fairness of federal criminal trials and ensure that

improper factors do not influence the jurors in this case.


                                   CONCLUSION

      For the foregoing reasons, the Defendants jointly and respectfully request that

the Court sever Counts I and III, pursuant to Rules 8 and 14 of the Federal Rules of

Criminal Procedure, the Fifth Amendment, and the Sixth Amendment.

                                        Respectfully submitted,

                                        Electronically filed
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                                          represented by counsel appointed
                                          under the Criminal Justice Act




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 20 th day of October, 2006, I served a true and
correct copy of the Defendants’ Joint Motion to Sever Counts I and III on Grounds
of Misjoinder Under Federal Rule of Criminal Procedure 8 and Prejudicial Joinder
Under Federal Rule of Criminal Procedure 14 by U.S. mail, postage prepaid, on
counsel for the United States at the address listed below:

James R.W. Braun, Esq.
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                                      Electronically filed
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